Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 1 of 18 PageID 1195




                FIN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISIONA

                         Case No. 8:22-cv-02227-SDM-SPF

 PROCCOR PHARMACEUTICALS, INC.,

                   Plaintiff,

 v.

 WORLD HEALTH PRODUCTS, LLC dba
 GAT SPORT and VITAMIN SHOPPE
 INDUSTRIES LLC dba THE VITAMIN
 SHOPPE,

                   Defendants.
                                          /

      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
       DEFENDANTS’ FIRST AND SECOND AFFIRMATIVE DEFENSES
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 2 of 18 PageID 1196




                                        TABLE OF CONTENTS
                                                                                                              Page

 TABLE OF AUTHORITIES ................................................................................. ii

 LEGAL STANDARD ............................................................................................4

 ARGUMENT .........................................................................................................4

 I.      THE COURT SHOULD DENY PLAINTIFF’S MOTION TO STRIKE BECAUSE THE
         DEFENDANTS’ FIRST AND SECOND AFFIRMATIVE DEFENSES ARE LEGALLY
         SUFFICIENT AS A MATTER OF LAW AND PLAINTIFF IS NOT PREJUDICED ....... 4

         A.       Defendants’ Affirmative Defenses for Genericness and Descriptiveness
                  are Legally Sufficient ...........................................................................4

         B.       Allowing Defendants’ Affirmative Defenses to Remain Will Not
                  Prejudice the Plaintiff ..........................................................................7

 II.     THE COURT SHOULD DENY PLAINTIFF’S MOTION TO STRIKE BECAUSE THE
         MOTION IMPROPERLY SEEKS A JUDICIAL FINDING THAT THE ALLEGED MARK
         IS INHERENTLY DISTINCTIVE, DESPITE PLAINTIFF HAVING ADMITTED THAT
         THE ALLEGED MARK IS MERELY DESCRIPTIVE ............................................. 8

 III.    IN DENYING PLAINTIFF’S MOTION, THE COURT SHOULD FIND THAT
         PLAINTIFF’S ALLEGED MARK IS EITHER MERELY DESCRIPTIVE OR GENERIC
         AND CANCEL PLAINTIFF’S TRADEMARK REGISTRATION AND DISMISS ITS
         CLAIMS BASED ON PLAINTIFF’S CONCESSIONS ............................................ 10

 CONCLUSION .................................................................................................... 13




                                                          i
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 3 of 18 PageID 1197




                                         TABLE OF AUTHORITIES
                                                                                                                  Page(s)
 CASES

 Abercrombie & Fitch Co. v. Hunting World, Inc.
    537 F.2d 4 (CA2 1976) ................................................................................................ 5

 Davis v. Hollywood & Ivar
   No. 2:21-cv-01235, 2021 U.S. Dist. LEXIS 202651 (C.D. Cal. Aug. 30, 2021) . 6, 7

 Microsoft Corp. v. Jesse’s Computs. & Repair, Inc.
    211 F.R.D. 681 (M.D. Fla. 2002) .................................................................... 4, 7

 Park n’ Fly v. Dollar Park & Fly
    469 U.S. 189 (1985) ................................................................................ 2, 5, 6, 9

 Reyher v. Trans World Airlines, Inc.
    881 F. Supp. 574 (M.D. Fla. 19995) ................................................................ 4, 8

 Schmidt v. Wells Fargo Bank, N.A.
    No. 8:20-cv-150, 2020 U.S. Dist. LEXIS 61779 M.D. Fla. Apr 8, 2020) ...... 1, 4, 8


 STATUTES-AT-LARGE

 Act of July 5, 1946, ch. 540, title I, 60 Stat 427 ................................................. 2, 5, 7


 U.S. CODE

 15 U.S.C.
    § 1052 (1958 ed.) ................................................................................................5
    § 1052(e) ......................................................................................................... 2, 5
    § 1052(e) (1958 ed.) ............................................................................................5
    § 1052(f) (1958 ed.) .............................................................................................5
    § 1064 .................................................................................................................5
    § 1064(3) ............................................................................................................2
    § 1064(c) (1958 ed.).............................................................................................5
    § 1065 ............................................................................................................. 5, 6
    § 1065(4) ............................................................................................................2
    § 1115(b) ............................................................................................................5



                                                              ii
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 4 of 18 PageID 1198




 RULES

 Fed. R. Civ. P. 12(c) .............................................................................................. 10

 Fed. R. Civ. P. 12(f).............................................................................. 1, 4, 8, 10, 11


 OTHER SOURCES

 Eleventh Circuit Pattern Jury Instructions (2022 ed.)........................................ 2, 3, 5

 Wright & Miller, Federal Practice and Procedure, Vol. 5C, § 1380 (3d ed. 2015) ............ 1




                                                           iii
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 5 of 18 PageID 1199




                                 MEMORANDUM OF LAW

        Motions to strike are heavily disfavored and will only be granted in drastic

 circumstances. See, e.g., Wright & Miller, Federal Practice and Procedure, Vol. 5C, §

 1380 (3d ed. 2015) (“numerous judicial decisions make it clear that motions under

 Rule 12(f) are viewed with disfavor . . . and are infrequently granted.”); Schmidt v.

 Wells Fargo Bank, N.A., No. 8:20-cv-150-T-33AAS, 2020 U.S. Dist. LEXIS 61779, *2-

 3 M.D. Fla. Apr 8, 2020) (Covington, J.) (“Although the Court has broad discretion

 in ruling on a motion to strike, such motions are disfavored due to their ‘drastic

 nature’ and are often considered ‘time wasters.’”) (collecting cases). Undeterred by

 the Rule 12(f) standard—indeed, without actually addressing that standard—Plaintiff

 Proccor Pharmaceuticals, Inc. (“Plaintiff” or “Proccor”) filed a frivolous and

 vexatious motion to strike 1 the Defendants’ first and second affirmative defenses

 (Doc. 115). 2 Defendants World Health Products, LLC d/b/a GAT Sport (“GAT

 Sport”) and Vitamin Shoppe Industries, LLC d/b/a The Vitamin Shoppe (“TVS”)

 (collectively, “Defendants”) included affirmative defenses that the alleged mark

 “Freedom Pop” is generic (First Affirmative Defense) or alternatively, that the

 alleged mark is merely descriptive (Second Affirmative Defense). (Doc. 101, p. 9;

 Doc. 102, p.11.)



    1
       Given the complete lack of legal support for its position, and its avoidance of actually arguing
 grounds for striking affirmative defenses, Proccor’s filing can only have been filed for an improper
 purpose.
     2
       Plaintiff filed an initial Motion at Doc. 113, which was then corrected at Doc. 115 to include a
 certificate of conference. Though both motions are addressed by the Opposition, references to pages
 are directed to the corrected motion, Doc. 115.
                                                   1
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 6 of 18 PageID 1200




         Proccor does not argue that Defendants’ defenses are legally insufficient—the

 standard necessary to strike them—because it cannot. Mot. at 3-6. As a matter of

 black letter law, the text of the Lanham Act, 3 and Supreme Court precedent, they are

 legally sufficient. See, e.g., Eleventh Circuit Pattern Jury Instructions (2022 ed.),

 § 10.4 (attached hereto as Exhibit “A”) 4. Instead, Proccor’s Motion appears directed

 to seeking a judicial determination that its alleged mark “Freedom Pop” is inherently

 distinctive based only on Proccor’s allegations, without any evidence to support such a

 finding and contradicted by Proccor’s recent admissions. See Mot. at 2-6; see also

 infra, Section III.

         The frivolousness of Plaintiff’s Motion is apparent on its face. Affirmative

 defenses that an asserted mark is invalid because it is either generic or merely

 descriptive are codified in the Lanham Act; they are legally sufficient defenses as a

 matter of law. See, e.g., 15 U.S.C. § 1052(e) (marks are not registrable on the

 principal register when merely descriptive); id., § 1064(3) (addressing that a mark can

 always be cancelled for genericness); id., § 1065(4) (“no incontestable right shall be

 acquired in a mark which is the generic name for the goods or services or a portion

 thereof, for which it is registered.”); Park n’ Fly v. Dollar Park & Fly, 469 U.S. 189, 194

 (1985) (“Generic terms are not registrable, and a registered mark may be cancelled at



     3
       Act of July 5, 1946, ch. 540, title I, § 1, et seq., 60 Stat 427, codified at 15 U.S.C. § 1051, et seq.
 (the “Lanham Act”)
     4
       The Eleventh Circuit’s Pattern Jury Instructions can also be accessed through the Eleventh
 Circuit’s website at the following link, where § 10.4 can be found on pages 768 through 787:
 ca11.uscourts.gov/sites/default/files/courtdocs/clk/FormCivilPatternJuryInstructionsRevisedMA
 R2022.pdf
                                                      2
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 7 of 18 PageID 1201




 any time on the grounds that it has become generic.”); id. at 205 (holding that if a

 mark achieves “incontestable” status “an action may not be defended on the grounds

 that the mark is merely descriptive.”); Eleventh Circuit Pattern Jury Instructions,

 § 10.4 (Ex. A) (articulating the standard for cancelling a registered mark on the

 grounds that the mark is generic or that it is merely descriptive).

        In arguing the opposite, Plaintiff’s Motion avoids addressing the actual legal

 standard for its motion to strike, and presents no genuine argument justifying the

 extreme relief sought. Instead, Plaintiff’s Motion asks the Court to find, as a matter

 of law and contrary to Plaintiff’s admissions, that Plaintiff’s alleged trademark for

 “Freedom Pop”, which Plaintiff uses to identify the name of the flavor of certain of its

 products, is “inherently distinctive.” See infra, Section III. It is not. Plaintiff’s

 Answer to Defendant GAT Sport’s counterclaims (Doc. 114) admits that Plaintiff

 does not use “Freedom Pop” to distinguish its goods from the goods of others;

 rather, it uses “Freedom Pop” to indicate that the flavor of some of its products is

 that of a Freedom Pop, i.e., the red-white-and-blue ice pops / popsicles® which have

 been offered by other companies for years. Doc. 114, ¶¶ 8, 34, 36, 39.

        Finally, Plaintiff dishonestly argues it is prejudiced by the affirmative defenses

 because it must respond to discovery—but avoids addressing that the same discovery

 is relevant to GAT Sport’s counterclaims addressing that the alleged mark is generic

 and/or descriptive, which Plaintiff answered. Compare Mot. at 6 with Doc. 101,

 counterclaim ¶¶ 38, 52, 60, 68, 75, 85, 106, 118, 130, 141, 149, 157, 165, 173, 181,

 and Counts X and XI and Doc. 114.
                                              3
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 8 of 18 PageID 1202




                                   LEGAL STANDARD

        “Affirmative defenses challenged by a motion to strike are . . . evaluated under

 Rule 12(f), which provides that a ‘court may strike from a pleading an insufficient

 defense or any redundant, immaterial, impertinent, or scandalous matter.” Schmidt,

 2020 U.S. Dist. LEXIS 61779, at *2 (citing Fed. R. Civ. P. 12(f)). “[S]uch motions

 are disfavored due to their ‘drastic nature’ and are often considered ‘time wasters.’”

 Id. at *2-3 (collecting cases). “Thus, ‘[a]n affirmative defense will only be stricken . .

 . if the defense is “insufficient as a matter of law.”’” Id. at *3 (quoting Microsoft Corp.

 v. Jesse’s Computs. & Repair, Inc., 211 F.R.D. 681, 683 (M.D. Fla. 2002) (citation

 omitted)). “An affirmative ‘defense is insufficient as a matter of law only if: (1) on

 the face of the pleadings, it is patently frivolous, or (2) it is clearly invalid as a matter

 of law.’” Ibid. (quoting Microsoft Corp., 211 F.R.D. at 683). “To the extent that a

 defense puts into issue relevant and substantial legal and factual questions, it is

 ‘sufficient’ and may survive a motion to strike, particularly when there is no showing

 of prejudice to the movant.” Reyher v. Trans World Airlines, Inc., 881 F. Supp. 574,

 576 (M.D. Fla. 19995) (citation omitted); Schmidt, 2020 U.S. Dist. LEXIS 61779, at

 *3 (quoting same).

                                       ARGUMENT

 I.     THE COURT SHOULD DENY PLAINTIFF’S MOTION TO STRIKE BECAUSE THE
        DEFENDANTS’ FIRST AND SECOND AFFIRMATIVE DEFENSES ARE LEGALLY
        SUFFICIENT AS A MATTER OF LAW AND PLAINTIFF IS NOT PREJUDICED.

        A.     Defendants’ Affirmative Defenses for Genericness and
               Descriptiveness are Legally Sufficient.

                                               4
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 9 of 18 PageID 1203




       The Defendants’ first and second affirmative defenses—that the alleged mark

 is invalid as generic and/or merely descriptive—are legally sufficient as a matter of

 law; Plaintiff’s Motion fails to meet the standard for the drastic remedy of striking

 them. It is black letter law that a trademark may always be challenged as invalid for

 genericness; moreover, so long as the alleged mark has not obtained “incontestable”

 status, it may be challenged as merely descriptive. Park n’ Fly, 469 U.S. at 194, 205;

 see also 15 U.S.C. §§ 1052(e), 1064, 1065, 1115(b); Eleventh Circuit Pattern Jury

 Instructions, § 10.4 (Ex. A).

       Articulating these defenses in Park n’ Fly, the Court explained:

       The provisions of the Lanham Act concerning registration and incontestability
       distinguish a mark that is “the common descriptive name of an article or
       substance” from a mark that is “merely descriptive.” §§ 2(e), 14(c), 15 U.S.C.
       §§ 1052(e), 1064(c). Marks that constitute a common descriptive name are
       referred to as generic. A generic term is one that refers to the genus of which
       the particular product is a species. Abercrombie & Fitch Co. v. Hunting World, Inc.,
       537 F.2d 4, 9 (CA2 1976). Generic terms are not registrable, and a registered
       mark may be cancelled at any time on the grounds that it has become generic.
       See §§ 2, 14(c), 15 U.S.C. §§ 1052, 1064(c). A “merely descriptive” mark, in
       contrast, describes the qualities or characteristics of a good or service, and this
       type of mark may be registered only if the registrant shows that it has acquired
       secondary meaning, i.e., it “has become distinctive of the applicant’s goods in
       commerce.” §§ 2(e), (f), 15 U.S.C. §§ 1052(e), (f).

 469 U.S. at 193-94 (citing 15 U.S.C. §§ 1052, 1064(c) (1958 ed.)). In Park n’ Fly, the

 Court was required to determine “the effect of the incontestability provisions of the

 Lanham Act in the context of an infringement action defended on the grounds that

 the mark is merely descriptive.” Id. at 194. Analyzing the text of the Lanham Act,

 the Court held that while a mark that is generic may be cancelled after it has become

 “incontestable,” an infringement action may not be defended on the grounds that the


                                                5
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 10 of 18 PageID 1204




  mark is “merely descriptive” once such mark becomes “incontestable.” Id. at 193-

  202, 205.

         Plaintiff’s alleged mark is not incontestable; therefore, this action may be

  defended on the grounds that Plaintiff’s alleged mark is invalid as generic or merely

  descriptive. See id. 194, 205. To be eligible for “incontestable” status, a mark must

  be registered for at least 5 years; then a mark owner must file the appropriate

  paperwork and the filing must be “acknowledged” by the U.S. Patent and

  Trademark Office. 15 U.S.C. § 1065. Plaintiff filed the application for its alleged

  mark on October 3, 2018, and the registration issued on May 7, 2019. Plaintiff’s

  alleged mark cannot have achieved “incontestable” status as a matter of law, see ibid.,

  and Plaintiff makes no argument otherwise.

         In Davis v. Hollywood & Ivar, No. 2:21-cv-01235-VAP-JPRx, 2021 U.S. Dist.

  LEXIS 202651 (C.D. Cal. Aug. 30, 2021), the court addressed this issue and denied

  the motion to strike affirmative defenses of descriptiveness and genericness. Id. at

  *19-23. In denying that motion to strike, that court explained that a defendant is

  permitted to challenge a mark that has not achieved “incontestable” status on the

  grounds that the mark is merely descriptive. Id. at *19-21 (“Under 15 U.S.C. § 1065,

  a federally registered mark is only ‘incontestable’ for descriptiveness after it is used

  continuously for five years. Plaintiff registered his trademark with the USPTO less

  than five years ago . . . meaning that his mark cannot be deemed incontestable.”).

         Here, Plaintiff’s Motion presents no genuine argument that the defenses are

  insufficient as a matter of law; that alone is enough for the motion to be denied. See
                                              6
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 11 of 18 PageID 1205




  id. at *19-23; see also Microsoft Corp., 211 F.R.D. at 683. As established by the text of

  the Lanham Act and Supreme Court precedent, they are legally sufficient.

  Accordingly, Plaintiff’s Motion provides no grounds for striking these affirmative

  defenses and should be denied by this Court.

        B.     Allowing Defendants’ Affirmative Defenses to Remain Will Not
               Prejudice the Plaintiff.

        Finally, Plaintiff disingenuously argues that allowing these affirmative

  defenses to remain will prejudice the Plaintiff. Mot. at 6. The crux of Plaintiff’s

  argument is that having to comply with discovery on these defenses is prejudicial.

  Mot. at 6. What Plaintiff fails to mention to the Court, however, is (1) that the

  “prejudicial” discovery addressed in Plaintiff’s Motion will have been responded to

  before the Court addresses this Motion and (2) Defendant GAT Sport has pending

  counterclaims addressing these issues—counterclaims which Plaintiff has not and

  cannot substantively attack.

        GAT Sport’s counterclaims include various claims for both the cancellation of

  Plaintiff’s trademark registration and for declarations of non-infringement based on

  multiple legal grounds which incorporate the factual issues that Plaintiff’s only use of

  “Freedom Pop” is as a flavor for some of its goods, not as a trademark. See generally,

  e.g., Doc. 101, pp. 23-53. Indeed, counterclaim counts X and XI seek cancellation

  and a non-infringement declaration, respectively, for “descriptiveness”. Id., pp. 45-

  47. For example, GAT Sport’s counterclaims include, inter alia, such allegations as:

  “Proccor has no bona fide use of ‘Freedom Pop’ as a trademark in commerce, and it


                                              7
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 12 of 18 PageID 1206




  manufactured false evidence to misrepresent that it uses and has used ‘Freedom Pop’

  as a trademark” id., p. 47, ¶ 148; “Proccor has since abandoned that alleged ‘use’ of

  ‘Freedom Pop’ as a trademark and has no trademark rights in the generic and/or

  descriptive term ‘Freedom Pop’ as a flavor,” id., ¶ 149; “Proccor has used ‘Freedom

  Pop’ as a flavor to accurately and correctly describe the flavor of certain of its

  products. The term has not acquired any ‘secondary meaning,’ so its use by Proccor

  has not come to distinguish the source of Proccor’s products,” id., ¶ 150; and

  “Proccor lacks any trademark rights in the alleged mark ‘FREEDOM POP,’” id.,

  ¶ 151.

           Plaintiff’s claim of prejudice is dishonest; all discovery it is required to address

  must also be addressed as part of GAT Sport’s counterclaims—which Plaintiff

  answered and will remain part of this case. Accordingly, Plaintiff cannot establish

  any prejudice, much less the prejudice necessary to challenge the sufficiency of

  Defendants’ affirmative defenses on a Rule 12(f) standard. See Reyher, 881 F. Supp.

  at 576; see also Schmidt, 2020 U.S. Dist. LEXIS 61779, at *3.

           Plaintiff’s Motion has not, and cannot, establish any of the necessary

  conditions to strike a defense. The defenses are legally sufficient, and Plaintiff is not

  prejudiced by having to address them as affirmative defenses. Accordingly,

  Plaintiff’s Motion should be denied.

  II.      THE COURT SHOULD DENY PLAINTIFF’S MOTION TO STRIKE BECAUSE THE
           MOTION IMPROPERLY SEEKS A JUDICIAL FINDING THAT THE ALLEGED
           MARK IS INHERENTLY DISTINCTIVE, DESPITE PLAINTIFF HAVING
           ADMITTED THAT THE ALLEGED MARK IS MERELY DESCRIPTIVE.

                                                 8
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 13 of 18 PageID 1207




         Plaintiff’s Motion does not address or even genuinely argue that the

  affirmative defenses are legally insufficient. Indeed, the Motion concedes that these

  are legally sufficient defenses. See Mot. at 3-6. Rather, Plaintiff’s Motion seeks an

  improper judicial ruling based only on the allegations in the Second Amended

  Complaint: “The Court should determine as a matter of law that the mark,

  FREEDOM POP, is arbitrary as applied to dietary products and is not generic or

  descriptive.” Mot. at 2. Plaintiff’s motion improperly challenges the merits of the

  defenses, as a means of requesting a premature ruling. Mot. at 3-6.

         Contrary to the arguments in its Motion, however, Plaintiff has already

  conceded that its use of “Freedom Pop” is as the “Freedom Pop Flavor” of its goods,

  and that it was used to describe the flavor of the red-white-and-blue “Freedom Pop”

  popsicles while also showing images of those same “Freedom Pop” popsicles on the

  labels. See Doc. 114, ¶¶ 8, 34, 36, 39. That is the definition of a “generic” or “merely

  descriptive” mark. See Park n’ Fly 469 U.S. at 194 (“Marks that constitute a common

  descriptive name are referred to as generic. A generic term is one that refers to the

  genus of which the particular product is a species. . . . A ‘merely descriptive’ mark, in

  contrast, describes the qualities or characteristics of a good or service, and this type

  of mark may be registered only if the registrant shows that it has acquired secondary

  meaning, i.e., it ‘has become distinctive of the applicant’s goods in commerce.’). To

  grant Plaintiff’s request, and hold that its alleged mark is arbitrary, is contrary to

  Plaintiff’s admitted facts.



                                               9
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 14 of 18 PageID 1208




         Further, though Plaintiff asserts that the Court can determine that its

  trademark is arbitrary on a Rule 12(f) motion, Plaintiff provides no authority for such

  an expansion of Rule 12(f)’s authority, and the undersigned has found no support for

  that position. Moreover, had Plaintiff genuinely sought to address the merits of the

  defenses, it would have filed a motion for judgment on the pleadings under Rule

  12(c), Fed. R. Civ. P.—a point raised to Plaintiff’s counsel during the parties’

  conferral. Instead, Plaintiff and its counsel filed this “time waster” Motion, without

  legal support and contrary to Plaintiff’s admitted facts, and as addressed infra,

  Section III, by making arguments which actually concede that its alleged mark is

  generic or merely descriptive, that its registration must be cancelled and its claims

  dismissed.

         Accordingly, the Court should deny Plaintiff’s Motion.5

  III.   IN DENYING PLAINTIFF’S MOTION, THE COURT SHOULD FIND THAT
         PLAINTIFF’S ALLEGED MARK IS EITHER MERELY DESCRIPTIVE OR GENERIC
         AND CANCEL PLAINTIFF’S TRADEMARK REGISTRATION AND DISMISS ITS
         CLAIMS BASED ON PLAINTIFF’S CONCESSIONS.

         Plaintiff’s Motion argues—without legal support—that the Court has the

  authority to address the merits of the Defendants’ defenses on this Rule 12(f)

  Motion. Mot. at 2; but see supra, Section II.b. But Plaintiff then contradicts its legal

  position in this entire case, in arguing:

         The first and second affirmative defenses allege that FREEDOM POP is a
         generic or descriptive term describing a flavor or taste. But there is no such
     5
       The repeated filing of motions without legal support or a factual basis, raises serious questions
  about the exceptionality of this case, the frivolousness of the arguments Plaintiff presents, and
  vexatious conduct of Plaintiff and its counsel which only serves to unnecessarily multiply these
  proceedings.
                                                   10
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 15 of 18 PageID 1209




         thing as a FREEDOM POP flavor or taste. Examples of flavors are vanilla,
         chocolate, strawberry, lemon, apple, and the like. The word mark FREEDOM
         POP is a fanciful, arbitrary name for an undescribed flavor. The words
         FREEDOM POP, unlike the words vanilla, chocolate, strawberry, and the like,
         do not say or describe anything about the taste of the product. The Court
         should decide this issue now as a matter of law and strike these affirmative
         defenses as legally insufficient.

  Mot. at 5-6. Rather than support Plaintiff’s Motion, that argument concedes that

  Plaintiff’s use of “Freedom Pop” as a flavor is merely descriptive or generic—just as

  it would be if Plaintiff had used “vanilla, chocolate, strawberry, lemon, apple, [or]

  the like” as the flavor for its Pre-RX or Amino Prestige (or other) products. Compare

  ibid. with Doc. 114, ¶¶ 8, 34, 36, 39. If Plaintiff is correct that this Court can

  determine the validity of the alleged mark on a Rule 12(f) motion, then the Court

  should find that Plaintiff’s alleged mark is either merely descriptive or generic and (1)

  cancel Plaintiff’s registration (U.S. Reg. No. 5,745,558) and (2) dismiss Plaintiff’s

  infringement claims because it possesses no trademark rights in Freedom Pop.

         Plaintiff has conceded, despite arguing the contrary in its Motion, that its use

  of “Freedom Pop” is as the “Freedom Pop Flavor” of some of its goods, and that it

  was used to describe the flavor of the red-white-and-blue “Freedom Pop” popsicles

  while also showing images of those same “Freedom Pop” popsicles on the labels.

  See Doc. 114, ¶¶ 8, 34, 36, 39. Plaintiff’s use of “Freedom Pop” is no different than if

  its products were flavored “vanilla, chocolate, strawberry, lemon, apple, [or] the

  like”; and Plaintiff implicitly concedes that such use would be merely descriptive or

  generic. Compare Mot. at 5-6 with Doc. 114, ¶ 8 (“Admitted that there are red-white-

  and-blue popsicles sold in the United States under the name ‘Freedompop’ [sic].”),

                                              11
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 16 of 18 PageID 1210




  ¶ 34 (“Admitted that Proccor offered PRE RX in the flavor ‘freedom pop,’ and that

  the label stated, ‘Freedom Pop Flavor.’”), ¶ 39 (“Admitted that some Proccor labels

  have included an image of red-white-and blue popsicles [sic].”).

          Plaintiff’s use of “Freedom Pop” is the definition of “generic” or “merely

  descriptive”. See Park n’ Fly 469 U.S. at 194 (“Marks that constitute a common

  descriptive name are referred to as generic. A generic term is one that refers to the

  genus of which the particular product is a species. . . . A ‘merely descriptive’ mark, in

  contrast, describes the qualities or characteristics of a good or service, and this type

  of mark may be registered only if the registrant shows that it has acquired secondary

  meaning, i.e., it ‘has become distinctive of the applicant’s goods in commerce.’).

          The flavor “vanilla” is the description of tasting like the thing called a vanilla

  bean. The flavor “chocolate” is the description of tasting like the thing called

  chocolate, or cacao pod. The flavor “strawberry” is the description of tasting like the

  thing called strawberry. And so too with “apple”, “lemon”, “watermelon,” and the

  like—it describes the flavor of the thing (e.g., an apple, a lemon, a watermelon, etc.).

  So too is Plaintiff’s use of “Freedom Pop” to describe tasting like the thing called

  Freedom Pop. Plaintiff admittedly uses the “Freedom Pop Flavor” to describe its

  products’ taste as that of the thing called Freedom Pop, i.e., the red-white-and-blue

  ice pops / popsicles®. Doc. 114, ¶¶ 8, 34. Plaintiff even displays an image of red-

  white-and-blue ice pops / popsicles® in connection with that description. Doc. 114,

  ¶ 39.

          Based on Plaintiff’s argument and logic not only should the Court deny
                                               12
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 17 of 18 PageID 1211




  Plaintiff’s motion to strike, but the Court should also find that—based on Plaintiff’s

  admissions—Plaintiff’s use of “Freedom Pop” is either merely descriptive or generic

  and therefore that its registration is invalid, and that it lacks any protectable

  trademark rights and its infringment claims must be dismissed.

                                            CONCLUSION

           For the reasons addressed above, the Court should deny Plaintiff’s Motion

  (Docs. 113, 115). 6 Plaintiff’s Motion fails as a matter of law, and even concedes

  through its argument and logic, that Plaintiff’s registration must be cancelled, and its

  claims must be dismissed; its use of “Freedom Pop” to describe the flavor of a

  Freedom Pop ice pop / popsicle® is either merely descriptive or generic, and either

  way, it is unprotectable and Plaintiff therefore lacks trademark rights.

                                                   Respectfully submitted,

                                                   MCHALE & SLAVIN, P.A.

                                                   /s/ Andrew D. Lockton
                                                   Edward F. McHale (Fla. Bar No. 190300)
                                                   Andrew D. Lockton (Fla. Bar No. 115519)
                                                   2855 PGA Boulevard
                                                   Palm Beach Gardens, Florida 33410
                                                   Telephone: (561) 625-6575
                                                   Facsimile: (561) 625-6572
                                                   Email:      litigation@mchaleslavin.com
                                                               alockton@mchaleslavin.com

                                                   MONTGOMERY MCCRACKEN WALKER &
                                                     RHOADS LLP

                                                   Patrick C. Campbell (pro hac vice)
                                                   1735 Market Street

     6
         To the extent that Doc. 113 is still pending, this Opposition also addresses that Motion.
                                                     13
Case 8:22-cv-02227-SDM-SPF Document 120 Filed 07/07/23 Page 18 of 18 PageID 1212




                                     Philadelphia, Pennsylvania 19103
                                     Telephone: (215) 772-7550
                                     Email:       pcampbell@mmwr.com

                                     Kaspar Kielland (pro hac vice)
                                     Matteo Bonuzzi (pro hac vice)
                                     437 Madison Avenue
                                     New York, New York 10022
                                     Telephone: (212) 551-7732
                                     Email:      kkielland@mmwr.com
                                                 mbonuzzi@mmwr.com

                                     Attorneys for Defendants




                                       14
